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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA                                         JS-6

                                    CIVIL MINUTES – GENERAL
    No.           CV 15-06518-ODW (KLS)                                      Date   May 2, 2017
    Title         Pinchem v. Regal Medical Group



    Present: The Honorable       Otis D. Wright, II, United States District Judge
                Sheila English                                Not reported                             N/A
                 Deputy Clerk                         Court Reporter / Recorder                      Tape No.
            Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                      Not present                                              Not present
    Proceedings:                                 In Chambers


       In light of the parties’ response to the Court’s Order to Show Cause, the Court
DISMISSES this action without prejudice. On or before July 14, 2017, any settling party may
move to enforce the settlement, apply to reopen the action, or stipulate to extend the deadline in
which to file such a motion or application.1 If the settling parties do not file any such motion,
application, or stipulation on or before that date, the settling parties will be deemed to have
stipulated to a dismissal of this action with prejudice. Fed. R. Civ. P. 41.

      The Court VACATES all other future dates and deadlines in this action, and the Clerk of
the Court shall close the case.



                                                                                          :     00
                                                      Initials of Preparer   SE




1
  The Court expressly retains jurisdiction over this action to adjudicate any such or other filings made during
this time.


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